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                      UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


IN RE:                                            )     CHAPTER 13
MURRAY STEPHEN KASMENN                            )     CASE NUMBER A18-52051-JWC
                                                  )
    DEBTOR                                        )




                WITHDRAWAL OF TRUSTEE'S MOTION TO DISMISS
   COMES NOW Nancy Whaley, Standing Chapter 13 Trustee, in the above styled matter, and
withdraws the Motion To Dismiss filed by the Trustee.




Respectfully Submitted,


/s/____________________________________
  Julie M. Anania
  Attorney for the Chapter 13 Trustee
  State Bar No. 477064
  303 Peachtree Center Avenue, NE
  Suite 120
  Atlanta, GA 30303
  678-992-1201
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                                CERTIFICATE OF SERVICE

Case No.: A18-52051-JWC

This is to certify that I have this day served the following with a copy of the foregoing Chapter
13 Trustee withdraws the Trustee's Motion to Dismiss by depositing in the United States mail a
copy of same in a properly addressed envelope with adequate postage thereon.

Debtor(s):
MURRAY STEPHEN KASMENN
4229 HIGHBORNE DRIVE NE
MARIETTA, GA 30066




By Consent of the parties, the following have received an electronic copy of the foregoing
Chapter 13 Trustee withdraws the Trustee's Motion to Dismiss through the Court's Electronic
Case Filing system.

Attorney for the Debtor(s):
SLIPAKOFF & SLOMKA, PC
se@myatllaw.com




This the 2nd day of March, 2020.


/s/___________________________________________
  Julie M. Anania
  Attorney for the Chapter 13 Trustee
  State Bar No. 477064
  303 Peachtree Center Avenue, NE
  Suite 120
  Atlanta, GA 30303
  678-992-1201
